OPINION — AG — **** RETAIL PACKAGE STORE — LOCATION **** TITLE 37 O.S. 1971 534 [37-534](C), PROHIBITS A RETAIL PACKAGE STORE FROM BEING LOCATED ON THE SAME CITY OR TOWN BLOCK WHERE A SCHOOL OR CHURCH IS BUILT. "A CITY OR TOWN BLOCK" MEANS A SQUARE OR PORTION OF THE CITY ACTUALLY ENCLOSED BY STREETS AND AVENUES. (DANIEL J. GAMINO) SEE: LOWERY V. OKLAHOMA ALCOHOLIC BEVERAGE CONTROL BOARD — 584 P.2d 720